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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         )       CHAPTER 11
                                               )
ATLANTA LIGHT BULBS, INC.,                     )       CASE NO. 22-52950-pmb
                                               )
         DEBTOR.                               )


                 NOTICE OF APPOINTMENT OF CHAPTER 11 TRUSTEE
                             AND SETTING OF BOND

         Pursuant to the Order of this Court directing the United States Trustee to appoint a Chapter

11 Trustee (Dkt. No. 58), the United States Trustee hereby appoints the following person Chapter

11 Trustee:

                                S. Gregory Hays, CTP, CIRA
                                Managing Principal
                                Hays Financial Consulting, LLC
                                2964 Peachtree Road, Suite 555
                                Atlanta, GA 30305-2153
                                (404) 926-0051

         Bond is hereby fixed in the amount of $10,000.

         This appointment made this 17th day of June, 2022.

                                                       MARY IDA TOWNSON
                                                       UNITED STATES TRUSTEE
                                                       REGION 21

                                                       /s/ Thomas W. Dworschak
                                                       Thomas W. Dworschak
                                                       Attorney for the United States Trustee
                                                       Georgia Bar No. 236380
                                                       United States Department of Justice
                                                       Office of the United States Trustee
                                                       Suite 362, Richard Russell Building
                                                       75 Ted Turner Drive, SW
                                                       Atlanta, Georgia 30303
                                                       (404) 331-4439
                                                       Thomas.W.Dworschak@USDOJ.gov
